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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                       : Bankruptcy No. 16-24825-JAD
                                              :
 John Sorensen                                : Chapter 7
 Cambria Sorensen                             :
                           Debtor             :
                                              :
    Natalie Lutz Cardiello, Trustee           :
         Movant                               :
                                              :
      v.                                      :
                                              :
    No Respondent                             :

             TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
             SERVICES AND COLDWELL BANKER REAL ESTATE TO PROCURE
            CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

        Natalie Lutz Cardiello, Esquire, Chapter 7 Trustee (the “Trustee”) for the above referenced
debtor(s) (the “Debtor”), by and through her undersigned counsel, files this Application for entry of an
order authorizing the retention of BK Global Real Estate Services (“BKRES”) under the terms set forth in
the agreement between BKRES and the Trustee (the “BKRES Agreement”) and Coldwell Banker Real
Estate (“Listing Agent”) under the terms of the agreement between Listing Agent and the Trustee (the
“Listing Agreement”). In support thereof, the Trustee respectfully states as follows:

                                            JURISDICTION

       1. This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157 and
1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (N), and (O).

       2.    Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                            BACKGROUND

         3. On December 29, 2016, the Debtor commenced this case by filing a voluntary petition for
relief under Chapter 7 of the United States Bankruptcy Code.

        4. On January 3, 2017, Natalie Lutz Cardiello was appointed as Chapter 7 trustee and has been
so serving.

       5.    The Trustee held and concluded the 341 meeting on February 5, 2017.

        6. The Debtor is the owner of real property located at 622 Bascom Ave, Pittsburgh, PA 15212
(the “Property”). The Statement of Intention filed by the Debtor indicates that the Debtor intends to
surrender the Property.
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        7. The Debtor has no equity in the Property. The Debtor’s schedules reflect that the Property is
currently worth $150,000, but is subject to a first mortgage lien (the “Senior Mortgage”) in favor of Wells
Fargo Home Mortgage (the “Secured Creditor”) in the amount of $137,327.90, a second mortgage lien in
favor of PA Housing Finance Agency HEMAP in the amount of $16,763.44, and a third mortgage lien in
favor of Ocwen Loan Servicing LLC in the amount of $14,751.08.

        8. The Trustee, after reviewing certain materials, including (without limitation) the
BK Score™1, sales analysis report and opinion of value for the Property provided by BKRES and Listing
Agent, has determined it to be in the best interest of the Debtor’s estate and all creditors to negotiate to
obtain Secured Creditor’s agreement and consent (“Consent”) to:

                a. sell the Property to whichever third party the Trustee determines to have made the
        best qualified offer during a public sale approved by the Court;

                b. buy the Property from the Debtor’s estate if (and only if) no such offer is made;

                c. release the Senior Mortgage and otherwise waive all of its claims against the estate
        with respect to the Property (including any deficiency claims resulting from the proposed sale);
        and

                d. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with the
        proposed sale, including the payment of a 6% real estate brokerage commission to BKRES,
        Listing Agent and any agent for the buyer that may participate in the sale and reimbursement of
        their out-of-pocket expenses, and provide a carve out for the benefit of allowed creditors of the
        Debtor’s estate.

        9. By this Application, the Trustee requests authority pursuant to Sections 327, 328(a) and 330
of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured Creditor’s Consent,
and (b) approve Secured Creditor’s payment of the fees described below directly to BKRES, Listing
Agent and any agent for the buyer that may participate in the sale at closing of the sale of the Property, if
and when the Consent and a separate motion seeking an order approving the sale of the Property (the
“Motion to Approve Sale”) are granted.


                                              APPLICATION

        10. Section 328(a) of the Bankruptcy Code provides, in relevant part, that a trustee “with the
court’s approval, may employ or authorize the employment of a professional person under section
327...on any reasonable terms and conditions of employment, including on a retainer, on an hourly basis,
on a fixed percentage or fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section 330 of the
Bankruptcy Code permits the Court to “award to a trustee… or a professional person employed under
section 327…(A) reasonable compensation for actual, necessary services rendered [by such party]…and
(B) reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1).

         11. The Trustee believes that the highest and best value for the Property will be generated
through a sale in which the Property is widely marketed to the public and offered at the highest price that
the market will bear. The Trustee further believes that such a sale is in the best interest of the Debtor’s
estate, but can only be achieved if Secured Creditor’s Consent is first obtained. The Trustee therefore

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  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
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believes that retaining BKRES2 and Listing Agent to obtain Secured Creditor’s Consent and market the
Property is in the best interests of the Debtor’s estate.

         12. In no event will the estate have any obligation to pay BKRES or Listing Agent. The terms
of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent are only
entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion to Approve Sale is
granted and (c) the Property is sold, in which event BKRES, Listing Agent and any agent for the buyer
that may participate in the sale will receive and share a 6% real estate brokerage commission at closing in
accordance with the order approving the sale.

        13. The Trustee submits that the terms of employment and compensation as set out in the
BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience of BKRES
and Listing Agent and the nature of the services they provide. Attached hereto as Exhibit A and Exhibit
B, respectively, are the BKRES Agreement and the Listing Agreement.

        14. BKRES has attested that it is a disinterested person within the meaning of Section 101(14)
of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a). Attached hereto
as Exhibit C is an Affidavit of Disinterestedness of BKRES.

        15. Listing Agent has attested that it is a disinterested person within the meaning of
Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a).
Attached hereto as Exhibit D is an Affidavit of Disinterestedness of Listing Agent.

        WHEREFORE, for the foregoing and all other necessary and proper purposes, the Trustee seeks
the Court’s authority to retain BKRES and Listing Agent in this case, and requests that the Court approve
the compensation arrangements set forth in the BKRES Agreement and Listing Agreement pursuant to
Sections 327, 328(a) and 330 of the Bankruptcy Code.

Dated: June 9, 2017                                            Respectfully submitted,

                                                               /s/ Natalie Lutz Cardiello
                                                               Natalie Lutz Cardiello, Esquire
                                                               Counsel to the Trustee
                                                               107 Huron Drive
                                                               Carnegie, PA 15106
                                                               (412) 276-4043
                                                               ncardiello@comcast.net
                                                               PA ID# 51296




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  BKRES has extensive experience obtaining the consent and agreement of mortgages lenders and servicers to the
sale of their collateral and resolution of any resulting unsecured claims in order to produce a recovery for estates
from over-encumbered assets in which the estate has no equity and is the broker affiliate of BK Global
(http://www.bkginc.com/).
